Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 1 of 8 Page ID #1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

SOUTHERN ILLINOIS ASPHALT COMPANY, INC., )
                                                    )
                     Plaintiff,                     )
                                                    )
              Vs.                                   )           No. 3:17-cv-405
                                                    )
LILIYA TURUBCHUK, Individually and                  )
as Personal Representative of the Estate of ALEKSEY )
TURUBCHUK, Deceased;                                )
VLADIMIR NEMTSOV, as Parent and Guardian of         )
E. NEMTSOVA, a minor, and V. NEMTSOV, a minor; )
LUDMILA NEMTSOVA,                                   )
IRINA TURUBCHUK,                                    )
LIBERTY MUTUAL FIRE INSURANCE COMPANY; )
CLARENDON NATIONAL INSURANCE COMPANY;)
LIBERTY INTERNATIONAL UNDERWRITERS, INC.)
and ACE AMERICAN INSURANCE COMPANY,                 )
                                                    )
                     Defendants.                    )



            COMPLAINT FOR DECLARATORY JUDGMENT


              Now comes Southern Illinois Asphalt Company, Inc., by and through
its attorneys, Black, Ballard, McDonald, P.C., and, pursuant to Rule 57 of the Federal
Rules of Civil Procedure, brings its Complaint For Declaratory Judgment, and, in
support thereof, states:


              1.     Southern Illinois Asphalt Company, Inc. is a Delaware
corporation with its principal place of business in Missouri.


              2.     Liliya Turubchuk, individually and as personal representative
of the estate of Aleksey Turubchuk, deceased, Vladimir Nemtsov, as parent and
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 2 of 8 Page ID #2




guardian of E. Nemtsova, a minor, and V. Nemtsov, a minor, Ludmila Nemtsova
and Irina Turubchuk are all individuals who reside in the State of Washington and
are currently plaintiffs in Cause No. 12-CV-594-SMY-DGW.


             3.     Liberty Mutual Fire Insurance Company is an insurance
company incorporated in the State of Wisconsin with its principal place of business
in Massachusetts.


             4.     Clarendon National Insurance Company is an insurance company
incorporated in the State of Illinois with its principal place of business in New York.


             5.     Liberty International Underwriters, Inc. is an insurance
company incorporated in the State of Illinois with its principal place of business in
Massachusetts.


             6.     ACE American Insurance Company is an insurance company
incorporated in the State of Pennsylvania with its principal place of business in
Pennsylvania.


             7.     The amount in controversy exceeds the sum or value of
Seventy-Five Thousand Dollars ($75,000.00), exclusive of interest and costs.


             8.     This court has jurisdiction pursuant to 28 U.S.C. §1332.


             9.     Venue is appropriate in this court pursuant to 28 U.S.C. §1391.



                                          -2-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 3 of 8 Page ID #3




             10.    Liberty Mutual Fire Insurance Company issued a policy of
insurance to Southern Illinois Asphalt, Inc. bearing General Policy Number RG2-
631-04090-605, with effective dates of April 1, 2005 through April 1, 2006.


             11.    Clarendon National Insurance Company issued a policy of
insurance entitled Coverage Plus Umbrella Liability Policy covering Southern Illinois
Asphalt Company, Inc. and bearing Policy Number XLB 00411049, with a policy
period of April 1, 2005 through April 1, 2006.


             12.    Liberty International Underwriters, Inc. issued a policy of
insurance covering Southern Illinois Asphalt Company, Inc. and bearing Policy
Number LQ1-B71-073-091-051, with effective policy dates of April 1, 2005 through
April 1, 2006.


             13.    ACE American Insurance Company issued a policy of
insurance covering Southern Illinois Asphalt Company, Inc. entitled Excess Liability
Catastrophe Policy and bearing Policy Number XCP G22082589, with a policy
period of April 1, 2005 through April 1, 2006.


             14.    The plaintiffs (hereinafter referred to as the Turubchuk plaintiffs)
in Cause Number 12-CV-594-SMY-DGW filed a Complaint on May 8, 2012 against
E. T. Simonds Construction Company and Southern Illinois Asphalt Company, Inc.


             15.    The Turubchuk plaintiffs had previously brought suit in 2007
in Cause No. 07-CV-216-WDS seeking to recover for bodily injury and wrongful
death arising out of a motor vehicle accident that occurred on Interstate 24 in an area

                                          -3-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 4 of 8 Page ID #4



where E. T. Simonds Construction Company and Southern Illinois Asphalt were
involved in a road construction project which included the re-paving of a portion of
Interstate 24 in Southern Illinois.


              16.    E. T. Simonds Construction Company and Southern Illinois
Asphalt Company, Inc. were performing the road construction work as a joint
venture, a copy of the Joint Venture Agreement being attached hereto and made a
part hereof as Exhibit 1.


              17.    The Turubchuk plaintiffs settled their causes of action for
One Million Dollars ($1 million) which were the policy limits of a Bituminous
Insurance Company policy which covered a joint venture consisting of E. T. Simonds
Construction Company and Southern Illinois Asphalt Company, Inc.


              18.    The Turubchuk plaintiffs claim in Cause No. 12-CV-594-SMY-
DGW that there was actually more insurance coverage available to E. T. Simonds
Construction Company and Southern Illinois Asphalt Company, Inc. for the injuries
sustained by them. They further contend that because of claimed misrepresentations
they would not have settled for the $1 million limit from Bituminous Insurance
Company.


              19.    The parties all filed motions for summary judgment, or partial
summary judgment, in 12-CV-594-SMY-DGW.


              20.    The court ruled on the plaintiffs' Motion For Partial Summary
Judgment in Document 199 on January 31, 2017, a copy of which is attached hereto
and made a part hereof as Exhibit 2.

                                           -4-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 5 of 8 Page ID #5



              21.      The court ruled on Southern Illinois Asphalt Company, Inc.'s
Motion For Summary Judgment in Document 200 on February 3, 2017, a copy of
which is attached hereto and made a part hereof as Exhibit 3.


              22.      The court ruled on E. T. Simonds Construction Company's
Amended Motion For Summary Judgment in Document 201 on February 3, 2017, a
copy of which is attached hereto and made a part hereof as Exhibit 4.


              23.      In the three Orders (Exhibits 2, 3 and 4), the court determined
that a joint venture did not exist between E. T. Simonds Construction Company and
Southern Illinois Asphalt Company, Inc. Further, the court held that individual
policies of insurance covering E. T. Simonds Construction Company and Southern
Illinois Asphalt Company, Inc., as opposed to the Bituminous policy which provided
coverage for the joint venture, would have afforded coverage for the Turubchuk
plaintiffs' claims.


              24.      Liberty Mutual Insurance issued a reservation of rights letter
indicating a willingness to defend the action but reserving its right to disclaim any
obligation to indemnify in reference to 12-CV-594-SMY-DGW by its letter of
September 7, 2012, a copy of which is attached hereto and made a part hereof as
Exhibit 5.


              25.      Liberty International Underwriters issued a letter of denial of
coverage on October 29, 2014, a copy of which is attached hereto and made a part
hereof as Exhibit 6.




                                             -5-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 6 of 8 Page ID #6



             26.    Specialty Claims Management, as third party administrator
for Clarendon National Insurance Company, issued its letter of denial as to
12-CV-594-SMY-DGW by its letter of June 16, 2014, a copy of which is attached
hereto and made a part hereof as Exhibit 7.


             27.    ACE American Insurance Company issued its letter of denial of
coverage by its letter of November 4, 2014, a copy of which is attached hereto and
made a part hereof as Exhibit 8.


             28.    There exists an actual controversy among the parties. In short,
Southern Illinois Asphalt Company, Inc. has contended that the only insurance
available to the Turubchuck plaintiffs would be that from the Bituminous policy for
the joint venture. The court has made a determination that there was no joint venture
and that the individual policies of insurance insuring Southern Illinois Asphalt
Company, Inc. did provide coverage for the Turubchuck plaintiffs' claims. As noted
in Exhibits 5, 6, 7 and 8, the insurance carriers for Southern Illinois Asphalt
Company, Inc. have either denied that coverage was available for the Turubchuk
plaintiffs or have reserved their rights to indemnify. Since the four insurance carriers
named as defendants in this matter were not parties to 12-CV-594-SMY-DGW, those
carriers would not be bound by the court's ruling.


             29.    That due to the nature of this controversy and the pending
litigation in 12-CV-594-SMY-DGW, the court should order a speedy hearing in this
matter as provided for in Rule 57 of the Federal Rules of Civil Procedure.




                                           -6-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 7 of 8 Page ID #7



             WHEREFORE, the plaintiff, Southern Illinois Asphalt Company, Inc.,
prays that the court declare and adjudge as follows:
                    (a)    That the policy of insurance issued by
             Liberty Mutual Fire Insurance Company bearing general
             Policy No. RG2-631-04090-605 with effective dates of
             April 1, 2005 through April 1, 2006 provides both indemnity
             and defense to Southern Illinois Asphalt Company, Inc.
             for the claims asserted by the Turubchuk plaintiffs in
             Cause No. 12-CV-594-SMY-DGW in the District Court
             for the Southern District of Illinois;
                    (b)    That the policy of insurance issued by
             Clarendon National Insurance Company bearing general
             Policy No. XLB 00411049 with effective dates of
             April 1, 2005 through April 1, 2006 provides both indemnity
             and defense to Southern Illinois Asphalt Company, Inc.
             for the claims asserted by the Turubchuk plaintiffs in
             Cause No. 12-CV-594-SMY-DGW in the District Court
             for the Southern District of Illinois;
                    (c)    That the policy of insurance issued by
             Liberty International Underwriters, Inc. bearing general
             Policy No. LQ1-B71-073-091-051 with effective dates of
             April 1, 2005 through April 1, 2006 provides both indemnity
             and defense to Southern Illinois Asphalt Company, Inc.
             for the claims asserted by the Turubchuk plaintiffs in
             Cause No. 12-CV-594-SMY-DGW in the District Court
             for the Southern District of Illinois;


                                           -7-
Case 3:17-cv-00405-SMY-DGW Document 1 Filed 04/19/17 Page 8 of 8 Page ID #8



                  (d)    That the policy of insurance issued by
           ACE American Insurance Company bearing general
           Policy No. XCP G22082589 with effective dates of
           April 1, 2005 through April 1, 2006 provides both indemnity
           and defense to Southern Illinois Asphalt Company, Inc.
           for the claims asserted by the Turubchuk plaintiffs in
           Cause No. 12-CV-594-SMY-DGW in the District Court
           for the Southern District of Illinois; and
                  (e)    To enter any and all orders necessary to
           resolve the controversy among these parties.




                               Attorneys for Plaintiff,
                               Southern Illinois Asphalt Company, Inc.




                                         -8-
